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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 FEDERAL TRADE COMMISSION et al.,

                       Plaintiffs,
                                                           CIVIL ACTION
                  v.                                       NO. 20-01113

 THOMAS JEFFERSON UNIVERSITY et
 al.,

                       Defendants.


                                        ORDER

      AND NOW, this 9th day of June 2020, upon consideration of Nonparty Tower

Health’s Motion for a Protective Order and Notice to Maintain Highly Confidential

Designation (ECF No. 60), the Federal Trade Commission and Commonwealth of

Pennsylvania’s Response (ECF No. 68), and Albert Einstein Healthcare Network and

Thomas Jefferson University’s Response (ECF No. 70), it is hereby ORDERED that the

Motion in DENIED.

                                            I

      Tower Health is a nonprofit corporation based in West Reading, Pennsylvania

that operates six general acute care hospitals in southeastern Pennsylvania. See

(Tower Health Mot. 2, ECF No. 60). Prior to the FTC and Commonwealth filing this

action seeking a preliminary injunction to block the proposed merger between

Defendants, Plaintiffs conducted a lengthy investigation and gathered discovery from

several third parties. See (Defs.’ Resp. 2, ECF No. 70). During that investigation,

Tower Health, through one of its employees, submitted a Declaration to the FTC. See

(Tower Health Mot. 2). Tower Health now seeks to designate the Declarant’s name and



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identifying information as “Highly Confidential” and further asks the Court for a “full

protective order” to permanently redact Declarant’s name and ensure that the

Declarant’s identifying information is not “disclosed, disseminated, released, exchanged

to or with any party in this proceeding or used, referenced, quoted, or lodged as

evidence of any purpose.” See (id. at 2–3). According to Tower Health, the failure to do

so would cause “irreparable damage and harm to the Declarant’s reputation and ability

to work in the local and regional healthcare markets.” (Id. at 2.)

       The FTC and Commonwealth of Pennsylvania filed a Response indicating that

Plaintiffs and Tower Health came to a joint agreement that would designate the

Declarant’s name and identifying information as “Highly Confidential” pursuant to the

Stipulated Protective Order. See (Stipulated Proposed Order, ECF No. 68-1). Einstein

and Jefferson also filed a Response opposing both the Motion and the joint agreement

proposed by Plaintiffs and Tower Health. See generally (Defs.’ Resp., ECF No. 70).

                                                 II

       Federal Rule of Civil Procedure 26(c) provides that a nonparty may move for a

protective order, and “[t]he court may, for good cause, issue an order to protect a party

or person from annoyance, embarrassment, oppression or undue burden or expense.”

Fed. R. Civ. P. 26(c)(1).1 “Good cause is established on a showing that disclosure will

work a clearly defined and serious injury to the party seeking closure.” Pansy v.

Borough of Stroudsburg, 23 F.3d 772, 786 (3d Cir. 1994) (internal quotation marks and

citation omitted). “Broad allegations of harm, unsubstantiated by specific examples or


1       Rule 26(c)(1) also requires that the motion include a “certification that the movant has in
good faith conferred or attempted to confer with other affected parties in an effort to resolve the
dispute without court action.” Fed. R. Civ. P. 26(c)(1); see E.D. Pa. Local Rule 26.1(f). Although
Tower Health failed to adhere to this requirement, the Court will consider the Motion on the merits.


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articulated reasoning, do not support a good cause showing.” Id. at 786 (internal

quotation marks omitted) (quoting Cipollone v. Liggett Grp., Inc., 785 F.2d 1108, 1121

(3d Cir. 1986)). In deciding whether good cause exists, the court considers several

factors, which are neither mandatory nor exhaustive, including: “(1) whether disclosure

will violate any privacy interest; (2) whether the information is being sought for a

legitimate purpose or for an improper purpose; (3) whether disclosure will cause a party

embarrassment; (4) whether confidentiality is being sought over information important

to public health and safety; (5) whether the sharing of information among litigants will

promote fairness and efficiency; (6) whether a party benefitting from the order of

confidentiality is a public entity or official; and (7) whether the case involves issues

important to the public.” See Glenmede Tr. Co. v. Thompson, 56 F.3d 476, 483 (3d Cir.

1995) (citing Pansy, 23 F.3d at 787–91).

                                             III

       A Stipulated Protective Order already exists in this case. See generally (ECF No.

55). As part of that Protective Order, the identity of a third party who submitted

information to the Plaintiffs during the investigation that preceded this litigation is

treated as “Confidential Information” upon request. See (id. ¶ 7). Confidential

Information may only be disclosed to the Court and its personnel; Plaintiffs; courts

having appellate jurisdiction over this action; counsel for the parties; consulting

experts; court reporters; document vendors; and a limited number of other individuals.

See (id. ¶ 10). Defendants’ employees, however, may not view “Confidential

Information” unless “counsel determines in good faith that the employee’s assistance is

reasonably necessary to the conduct of this litigation” and provides advance written




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notice to the opposing party at least seven days prior to disclosure, with the producing

party having the opportunity to challenge the disclosure within that period. See (id.)

Information designated as “Highly Confidential,” however, may not be viewed by any of

Defendants’ employees. See (id. ¶ 11).

      In balancing the Pansy factors, Tower Health has not shown that good cause

exists to modify the protections already in place. Tower Health’s argument relies

primarily on the first and third Pansy factors; it contends that disclosure would violate

the Declarant’s privacy interests and cause embarrassment because the Declarant’s

identity is well-known in the health-care industry, such that disclosure would lead to

negative consequences for the individual’s career. See (Tower Health Mot. 4). Tower

Health, however, fails to articulate how disclosure would lead to such results,

considering it provides the Court with no specific information about the statements the

Declarant made. Nor does Tower Health illustrate the harms the Declarant will

purportedly suffer other than through counsel’s conclusory assertion that disclosure

would damage the Declarant’s “reputation and ability to work in the local and regional

healthcare markets.” (Tower Health Mot. 2.) When a party or nonparty seeks a

protective order to prevent embarrassment, the movant “must demonstrate that the

embarrassment will be particularly serious.” Pansy, 23 F.3d at 787 (quoting Cipollone,

785 F.2d at 1121). Tower Health has not met that burden.

      Tower Health also argues that disclosure of the Declarant’s name and

identifying information “serves no public interest or proper purpose in the present

matter and would provide no information important to public health and safety.”

(Tower Health Mot. 4.) Contrary to Tower Health’s assertion, this case involves a




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proposed hospital merger that has already generated public interest. Given the nature

of the proposed merger, the facts relevant to this litigation will, to some degree, involve

information important to public health. Moreover, the Declarant’s identity serves a

legitimate purpose in this case and not designating the individual’s identity as “Highly

Confidential” promotes fairness between the parties. Indeed, Defendants may seek to

undermine the Declarant’s assertions based in part on the fact that the Declarant

worked for one of the parties for several years. See (Tower Health Mot. 4; Defs.’ Resp.

10). The second, fourth, fifth and seventh Pansy factors are thus either neutral or

weigh against the Court imposing additional protections.

        Finally, with regard to the sixth factor—whether the party benefitting from the

order of confidentiality is a public entity or official—the Declarant’s status as a private

individual may weigh in favor of additional protections. But the Court places little

weight on this factor because the Stipulated Protective Order already allows the

Declarant’s name and identity to be “treated as “Confidential Information . . . where the

submitter has requested such confidential treatment.” See (Stipulated Protective Order

¶ 7).

                                                        BY THE COURT:



                                                         /s/ Gerald J. Pappert
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                                                        GERALD J. PAPPERT, J.




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